     Case 2:19-cr-00313-SVW Document 135 Filed 07/18/20 Page 1 of 5 Page ID #:975



 1   NICOLA T. HANNA
     United States Attorney
 2   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
 3   Chief, National Security Division
     REEMA M. EL-AMAMY (Cal. Bar No. 237743)
 4   DAVID T. RYAN (Cal Bar No. 295785)
     Assistant United States Attorneys
 5   Terrorism and Export Crimes Section
          1500 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-0552/4491
          Facsimile: (213) 894-2979
 8        E-mail:     reema.el-amamy@usdoj.gov
                      david.ryan@usdoj.gov
 9

10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                No. CR 19-0313-SVW
14
                Plaintiff,
15                                            GOVERNMENT’S MISCELLANEOUS FILING
                      v.
16
     MARK STEVEN DOMINGO,
17
                Defendant.
18

19

20

21        The United States of America, by and through its undersigned
22   counsel of record, hereby files its Miscellaneous filing.
23   //
24   //
25   //
26   //
27

28
     Case 2:19-cr-00313-SVW Document 135 Filed 07/18/20 Page 2 of 5 Page ID #:976



 1        This filing is based on the files and records in this case, and

 2   any further evidence or argument the Court may allow.

 3    Dated: July 17, 2020                Respectfully submitted,

 4                                        NICOLA T. HANNA
                                          United States Attorney
 5
                                          CHRISTOPHER D. GRIGG
 6                                        Assistant United States Attorney
                                          Chief, National Security Division
 7

 8                                              /s/
                                          REEMA M. EL-AMAMY
 9                                        DAVID T. RYAN
                                          Assistant United States Attorney
10
                                          Attorneys for Plaintiff
11                                        UNITED STATES OF AMERICA

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             2
     Case 2:19-cr-00313-SVW Document 135 Filed 07/18/20 Page 3 of 5 Page ID #:977



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             i
     Case 2:19-cr-00313-SVW Document 135 Filed 07/18/20 Page 4 of 5 Page ID #:978



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            ii
     Case 2:19-cr-00313-SVW Document 135 Filed 07/18/20 Page 5 of 5 Page ID #:979



 1        The government’s proposed expert has testified in the following
 2   matters:    United States v. Bell, CR. No. 13-141 (Tampa, Florida);
 3
     United States v. Robertson, CR No. 11-277 (Orlando, Florida); United
 4
     States v. Elhuzayel/Badawi, CR No. 15-60(A)-DOC (Central District of
 5
     California); United States v. Khweis, CR No. 16-143 (Eastern District
 6
     of Virginia); and United States v. Salman, CR No. 17-18 (Tampa,
 7

 8   Florida).

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
